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     EXHIBIT G
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                                                                       P.RyanBray
                                                                     Phone #(941) 812-9007
                                                                     pryanbray@msn.com

                                        August 13, 2014

    Via Electronic Mail Only

    Janelle E. Fulton
    10 S. Leopard Rd.
    Paoli, PA 19301

           Re:    Patrick Ryan Bray v. Bank of America
                  4: 14-cv-01336-CE.J

    Dear Ms. Fulton:

    I am writing to inform you of my plans to file a Motion for Leave with the Court to
    supplement my original complaint with factual evidence. As you recall I asked you in the
    past if you would be opposed to my attaching documents as exhibits to support my
    claims.

    You opposed my doing such, as you stated that I signed a confidentiality agreement in the
    previous un-related hearing with Merrill Lynch, and my using of such documents would
    be a violation of that agreement. Therefore because of your objection, and threat of
    enforcement of the confidentiality agreement, I provided the Court with no evidence to
    support my claims other than verbiage that such documents do exist.

    Now after the recent subpoena of BANA upon Merrill Lynch, through the prior discovery
    while the case was held in the Middle District of Florida, I am in possession of the
    documents that support my claims unimpeded from any confidentiality agreement.

    I feel it only prudent to make the Honorable Jackson aware of such documents to enable
    her to make a fair judgment as to your motion to dismiss since to date, there has been no
    supporting evidence other than verbiage to rule in either direction. As we know, there
    were many false claims that you provided the Court in your Motion to Dismiss, that I
    addressed, but was not able at that time to provide the Court with the supporting
    documents to prove them to be unsubstantiated because of the confidentiality agreement.

    Please let me know whether or not you object to my filing this motion for leave. You
    gave me two (2) hours to respond as to whether I would object to one of your recent
    filings but I will give you extra time until noon tomorrow.

                                                               Sincerely,

                                                               P. Ryan Bray
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                                       RubinFortunato



                                                                                      JANELLE E. FULTON
                                                                                    Direct Dial: (610) 408-2038
                                                                                    Direct Fax: (610) 854-1860
                                                                                   jfulton@rubinfortunato.com


                                                   August 14, 2014


 Via Electronic Mail

 Patrick Ryan Bray
 4007 Riverview Blvd.
 Bradenton, FL 34209
 pryanbray@msn.com


        Re:       Patrick Ryan Bray v. Bank of America
                  14-cv-01336-CEJ (E.D. Mo.)

 Dear Mr. Bray:

        I write in response to your August 13 letter indicating that you will be filing a Motion for
 Leave to supplement your Complaint and to inform you that BANA will oppose such a motion.
 The Motion to Dismiss is fully briefed, and as you acknowledge in your letter, even if you did
 not have documents to attach, you included verbiage to set forth your claims and your responses
 to BANA's arguments. As such, this motion is nothing more than another attempt to force
 BANA to incur attorney's fees, now that discovery is effectively stayed.

         In addition, I feel the need to address the inaccuracies in your letter. First, I disagree
 completely with your characterization of the action against Merrill Lynch as "un-related." As we
 have discussed many times - and as you have stated yourself - this action is very closely related
 to the FINRA action involving Merrill Lynch. Specifically, the anti-tying claim is the same, the
 witnesses are the same, and the documents are the same. The only differences are the forum and
 the defendant.

          Second, I take issue with your claim that I have made false claims to the Court. I have
 done no such thing, and your incessant personal attacks on my veracity, my ethics, and my
 professionalism must stop. Throughout the last two years that we have been actively involved in
 litigation, I have treated you and your lawyers fairly and with professional courtesy, despite the
 fact that you and your lawyers have not returned the courtesy. You have repeatedly called me a
 liar and accused me of making false statements to your and to the Court. It is for this reason -


                                        Rubin, Fortunato & Harbison P.C.
        10 South Leopard Road, >Paoli, PA 19301   fbl0.408.2000   Fbl0.408.9000   Jwww.rubinfortunato.com
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  Patrick Ryan Bray
  August 14, 2014
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  and the fact that prior conversations have been fruitless - that I no longer choose not to try to
  resolve issues with you by telephone. Personal attacks have no place in this forum, and I ask you
  to temper your future correspondence with my office.


  Sincerely,

  RUBIN, FORTUNATO & HARBISON P.C.


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~~;E~ulton
  cc:    Scott Dickenson, Esq.
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                                                                         P.Ryan Bray
                                                                       Phone #(941) 812-9007
                                                                       pryanbray@msn.com

                                         August 14, 2014

    Via Electronic Mail Only

    Janelle E. Fulton
    10 S. Leopard Rd.
    Paoli, PA 19301

           Re:     Patrick Ryan Bray v. Bank of America
                   4:14-cv-01336-CE.J

    Dear Ms. Fulton:

            I am addressing your letter dated August 14, 2014 in response to my letter the
    previous day. Your objection is noted and I will include it in my memorandum that I will
    be filing. Might I remind you, that one of your objections to me filing exhibits prior, with
    my responses to your Motion to Dismiss, was because you stated that a court cannot
    consider any documents outside the pleadings unless the documents are publicly
    available, but you chose to file documents in exhibits that were not publicly available
    regardless.

           As to your statement that "this motion is nothing more than another attempt to
    force BANA to incur attorney's fees", is quite puzzling, as I was not aware that I am
    bringing this case to the Court for that reason, nor have I filed anything prior to now that
    was anything but normal procedure or responses to your endless motions.

            As two your next disagreement of this action being un-related to the Merrill
    Lynch action I can only state once more that it was you, personally, that argued continual
    times in numerous venues that BANA is a non-party to the FINRA proceedings and that
    the case that I am bringing now can only be heard in Federal Court. Of course when I do
    file in Federal Court you continually argue as though this case was decided in FINRA
    arbitration when it has not. BANA is a party here not Merrill Lynch.

             BANA, the non-FINRA member, that you argued so elegantly, is the Plaintiff
    here. The anti-tying claims (Count I) are against BANA along with the employees of
    BANA for the Libel and Slander (Count II and III). Because you were there at the
    arbitration hearings, I should not have to point out the amount of times you or your team
    pointed out that Mr. Bode's and Mr. Knopf's testimony has little to no relevance as they
    were BANA employees and not Merrill Lynch and of course BANA is a non-FINRA
    member.
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            Lastly, regarding your statement of my incessant personal attacks on your
    veracity, ethics, and professionalism. It was you that stated in the beginning of this case
    to me, that you wanted to make sure I understood that everything involving this case
    should not be taken as personal. I understand that fully, as I believed you did, as you
    were the one that made the comment.

           That being said, it was not me or my Counsel in the FINRA hearing involving
    Merrill Lynch that cried (literally) for the first ten minutes or so of your closing
    arguments about how you felt you were so mistreated by my attorney's. I was under the
    impression that the hearing was about Merrill Lynch vs. Bray and not Merrill Lynch vs.
    Bray and then also Ms. Fulton the lead Counsel for Merrill Lynch.

           If you recall it was me, (after your denial that you refused to do the CMR per
    Local Rules until your Motion to Dismiss was ruled upon), that requested that to avoid
    future misunderstandings we should audio record all conversations between us to avoid
    any further misunderstandings, but nonetheless you refused this request.

            I apologize to you for stating the facts as to the misrepresentations you have made
    to the Court numerous times in different filings. Maybe you did not personally write
    these filings in their entirety that were submitted to the Court but you are the person that
    signed them and therefore the only individual in my opinion that I can hold responsible.

            To state that I have called you a liar repeatedly is un-founded, nor can you
    produce anything to substantiate your statement. I admit that I have stated to the Court
    that there have definitely been false statements made by you and your firm in your filings
    in this case. But I made these rebuttals to the Court because your signature was at the
    bottom of the filings and you know that there is evidence and testimony to prove your
    filings as false.

            In light of this if you would prefer to defend your claims as being accurate in
    there entirety I would be more than satisfied to share such defenses with the Court rather
    than have you offended by my behavior of merely just stating your unsubstantiated
    claims. As a starter look at D. (page 5) of your Motion to Dismiss (filing# 12) and
    please explain how after the arbitration hearing you believe that is a factual statement and
    can purport it as such to the Court. Mind you that is just one example of many instances.

           Had you not been lead Counsel in the FINRA arbitration I would be able to
    assume you were not aware of the facts but that is not the case. Instead you are fully
    aware of the facts but are signing off on the filings misconstruing the facts.

          Needless to say I will state to the Court that you are Opposed to my filing to
    Supplement.

    Sincerely,

    P. Ryan Bray



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